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10   Attorneys for Plaintiff Schultze Agency Services,
     LLC on behalf of Tweeter Opco, LLC and Tweeter
11   Newco, LLC
12
                                UNITED STATES DISTRICT COURT
13                            NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
14
                                                         Case No. 07-5944 SC
15   IN RE CATHODE RAY TUBE (CRT)
     ANTITRUST LITIGATION                                MDL No. 1917
16

17                                                       NOTICE OF PLAINTIFF SCHULTZE
     This document relates to:                           AGENCY SERVICES, LLC ON
18                                                       BEHALF OF TWEETER OPCO, LLC
            Case No. 3:11-cv-05528-SC                    AND TWEETER NEWCO, LLC
19                                                       REGARDING STATUS CONFERENCE
     SCHULTZE AGENCY SERVICES, LLC ON
20   BEHALF OF TWEETER OPCO, LLC AND                     Judge:   Hon. Samuel P. Conti
     TWEETER NECO, LLC,                                  Court:   Courtroom 1, 17th Floor
21                                                       Date:    September 13, 2013
                        Plaintiff,                       Time:    10 a.m.
22
      vs.
23
     HITACHI, LTD., et al.,
24

25                      Defendants.

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     6&+8/7=(¶61OTICE REGARDING STATUS CONFERENCE
     CASE NO. 3:07-cv-5944; 3:11-cv-05528
        Case 3:07-cv-05944-JST Document 1878 Filed 08/29/13 Page 2 of 2



 1             Undersigned counsel represents eight direct action plaintiffs and, pXUVXDQWWRWKH&RXUW¶V

 2   July 2, 2013 Order Setting Status Conference (Dkt. No. 1758), hereby notifies the Court that one
 3   of those plaintiffs, Schultze Agency Services, LLC on behalf of Tweeter Opco, LLC and Tweeter
 4   Newco, LLC ³Schultze´is unable to attend the September 13, 2013 Status Conference because
 5   6FKXOW]H¶V knowledgeable in-house personnel has a conflict on that date.                     However, the
 6   undersigned outside counsel for Schultze is available to represent Schultze at the Status
 7   Conference. Accordingly, Schultze UHVSHFWIXOO\UHTXHVWVWKH&RXUW¶VSHUPLVVLRQWKDWSchultze be
 8   excused from attending the Status Conference and that counsel from Boies, Schiller & Flexner

 9   LLP be permitted to represent Schultze at the hearing.                   6FKXOW]H¶V NQRZOHGJHDEOH LQ-house
10   personnel will be available by telephone to outside counsel during the Status Conference, should
11   6FKXOW]H¶VLPPHGLDWHLQSXWEHQHHGHG
12
     Dated: August 27, 2013                               Respectfully submitted,
13
14                                                        /s/ Philip J. Iovieno
15                                                        William A. Isaacson
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                 TES D        TC                          Philip J. Iovieno
20             TA 08/28/2013                              Anne M. Nardacci
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24                                                        Attorneys for Plaintiff Schultze Agency Services LLC
      RT




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                                                          on behalf of Tweeter Opco, LLC and Tweeter Newco,
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     CASE NO. 3:07-cv-5944; 3:11-cv-05528
